                                      United States Bankruptcy Court
                                        Northern District of Ohio
In re:                                                                                  Case No. 09-36626-maw
James R Majewski                                                                        Chapter 13
Nichole R Majewski
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0647-3           User: amari                  Page 1 of 3                   Date Rcvd: Nov 27, 2012
                               Form ID: 215BAPCP            Total Noticed: 50


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 29, 2012.
db/db       #+James R Majewski,     Nichole R Majewski,    1274 Delia Ave,    Akron, OH 44320-1356
cr            +Corinthian Colleges Inc,    PO Box 25117,    Santa Ana, CA 92799-5117
cr            +Department of Education,    U.S. Attorney’s Office,    433 N. Summit Street,    Suite 308,
                Toledo, OH 43604-2624
18870227      +1st Source B,   100 N Michigan St P O Box 149,     South Bend, IN 46601-1600
18870228      +Acs/Dept Of Ed,    501 Bleecker St,    Utica, NY 13501-2401
18870229      +Acs/Wachovia,   501 Bleecker St,    Utica, NY 13501-2401
18870230      +Allied Waste Services,    4005 Tiffin Avenue,    Sandusky, OH 44870-9689
18870231      +Ar Resources,   1777 Sentry Pkwy West,     Blue Bell, PA 19422-2206
18870233       Bill Me Later,    PO Box 2394,   Omaha, NE 68103-2394
18870240    ++COLUMBIA GAS,    ATTN REVENUE RECOVERY,     200 CIVIC CENTER DR 11TH FLOOR,    COLUMBUS OH 43215-4157
              (address filed with court: Columbia Gas,      Revenue Recovery,    200 Civic Center Drive,
                Columbus, OH 43215)
18941264      #CitiFinancial Inc,    P.O. Box 140489,    Irving, TX 75014-0489
18870241      +Everst University,    C/O Corinthian Colleges, Inc,    Attn: Financial Services,    PO box 25117,
                Santa Ana, CA 92799-5117
18870242    ++FIFTH THIRD BANK,     MD# ROPS05 BANKRUPTCY DEPT,    1850 EAST PARIS SE,
                GRAND RAPIDS MI 49546-6253
              (address filed with court: Fifth Third Bank,      Fifth Third Center,    Cincinnati, OH 45263)
18887319      +Fifth Third Bank,    PO BOX 829009,    Dallas, TX 75382-9009
18870247      +Ntl Bk Oakhb,   147 W Water,    Oak Harbor, OH 43449-1348
19068043       Sallie Mae Inc, on behalf of the,    Department of Education,     P.O. Box 740351,
                Atlanta, GA 30374-0351
18957612       Sallie Mae, Inc. on behalf of,    CSAC/California Student Aid Commission,     CSAC/Ed Fund,
                P.O. Box 419041,    Cordova, Ca. 95741-9041
18870250      +Villeage of Oak Harbor,    Utilities Department,    146 N. Church Street,
                Oak Harbor, OH 43449-1365
18977685       WACHOVIA,   C/O ACS,    P. O. BOX 22724,    LONG BEACH, CA 90801-5724

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr           +EDI: ECMC.COM Nov 27 2012 23:28:00      ECMC,    P.O. Box 75906,    St. Paul, MN 55175-0906
cr           +EDI: BASSASSOC.COM Nov 27 2012 23:28:00       HSBC Bank Nevada, N.A.,     Bass & Associates, P.C.,
               3936 E. Ft. Lowell Road, Suite #200,    Tucson, AZ 85712-1083
cr           +E-mail/Text: bknotice@ncmllc.com Nov 27 2012 23:49:55       NATIONAL CAPITAL MANAGEMENT, LLC.,
               8245 TOURNAMENT DRIVE,    SUITE 230,   MEMPHIS, TN 38125-1741
cr           +EDI: PRA.COM Nov 27 2012 23:28:00      PRA Receivables Management LLC,       POB 41067,
               Norfolk, VA 23541-1067
18870232     +EDI: BANKAMER2.COM Nov 27 2012 23:28:00       Bank Of America,    Po Box 17054,
               Wilmington, DE 19850-7054
18870238      EDI: CHRYSLER.COM Nov 27 2012 23:28:00      Chrysler,    27777 Franklin Rd,
               Southfield, MI 48034-2337
19936825      EDI: CHRYSLER.COM Nov 27 2012 23:28:00      Chrysler Financial Services Americas LLC,
               Chapter 13 Trustee Payment Processing,    P.O. Box 9001897,      Louisville, KY 40290-1897
18913261      EDI: CHRYSLER.COM Nov 27 2012 23:28:00      Chrysler Financial Services Americas LLC d/b/a Chr,
               PO Box 9001897,   Louisville, KY 40290-1897
19164518      EDI: RESURGENT.COM Nov 27 2012 23:28:00       CR Evergreen, LLC,    MS 550,    PO Box 91121,
               Seattle, WA 98111-9221
18870234     +EDI: CAPITALONE.COM Nov 27 2012 23:28:00       Cap One,   Pob 30281,
               Salt Lake City, UT 84130-0281
18870235     +EDI: RMSC.COM Nov 27 2012 23:28:00      Carecrd/Gemb,    Po Box 981439,     El Paso, TX 79998-1439
18870236     +EDI: CHASE.COM Nov 27 2012 23:28:00      Chase,    800 Brooksedge Blv,     Westerville, OH 43081-2822
19936826      E-mail/Text: ECF@SHERMETA.COM Nov 27 2012 23:54:58       Chrysler Financial Services Americas LLC,
               c/o Shermeta, Adams & Von Allmen, P.C.,    P.O. Box 80908,    Rochester Hills, MI 48308-0908
19093968     +EDI: ECMC.COM Nov 27 2012 23:28:00      ECMC,    P.O. Box 75906,    Saint Paul, MN 55175-0906
21131902     +EDI: RESURGENT.COM Nov 27 2012 23:28:00       East Bay Funding, LLC,
               c/o Resurgent Capital Services,    PO Box 288,    Greenville, SC 29602-0288
19115098     +EDI: BANKAMER.COM Nov 27 2012 23:28:00      FIA CARD SERVICES, NA AS SUCCESSOR IN INTEREST TO,
               BANK OF AMERICA, NA AND MBNA AMERICA BAN,     1000 Samoset Drive,    DE5-023-03-03,
               Newark, DE 19713-6000
19109146      EDI: RMSC.COM Nov 27 2012 23:28:00      GE Consumer Finance,     For GE Money Bank,
               dba CARECREDIT/GEMB,   PO Box 960061,    Orlando FL 32896-0661
18870243     +EDI: RMSC.COM Nov 27 2012 23:28:00      Gemb/Dillard,    Po Box 981471,     El Paso, TX 79998-1471
19169412     +EDI: BASSASSOC.COM Nov 27 2012 23:28:00       HSBC Bank Nevada, N.A.,     Bass & Associates, P.C.,
               3936 E. Ft. Lowell Rd., Suite 200,    Tucson, AZ 85712-1083
18870244     +EDI: HFC.COM Nov 27 2012 23:28:00      Hsbc/Kawas,    Pob 15521,    Wilmington, DE 19850-5521
18870245     +EDI: HFC.COM Nov 27 2012 23:28:00      Hsbc/Rs,    90 Christiana Rd,     New Castle, DE 19720-3118
18993914     +EDI: CAUT.COM Nov 27 2012 23:28:00      JPMorgan Chase Bank, N.A.,      Student Loan - Private,
               201 N Central Ave., AZ1-1191,    Phoenix, AZ 85004-0073
18870246     +E-mail/Text: ebnsterling@weltman.com Nov 27 2012 23:50:55        Kay Jewelers,    375 Ghent Rd,
               Akron, OH 44333-4600
19854228     +E-mail/Text: bknotice@ncmllc.com Nov 27 2012 23:49:55       National Capital Management, LLC.,
               8245 Tournament Drive,    Suite 230,   Memphis, TN 38125-1741,     USA



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 District/off: 0647-3                  User: amari                        Page 2 of 3                          Date Rcvd: Nov 27, 2012
                                       Form ID: 215BAPCP                  Total Noticed: 50


 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
 (continued)
 21285627      EDI: PRA.COM Nov 27 2012 23:28:00     Portfolio Recovery Associates, LLC,     PO Box 41067,
                Norfolk VA 23541
 19042523     +EDI: PRA.COM Nov 27 2012 23:28:00     PRA Receivables Management, LLC,
                As Agent Of Portfolio Recovery Assocs.,    PO Box 12914,    NORFOLK VA 23541-0914
 18870249     +EDI: SALMAESERVICING.COM Nov 27 2012 23:28:00      Sallie Mae,    11100 Usa Parkway,
                Fishers, IN 46037-9203
 18870248     +EDI: SALMAESERVICING.COM Nov 27 2012 23:28:00      Sallie Mae,    1002 Arthur Dr,
                Lynn Haven, FL 32444-1683
 19222691     +EDI: SALMAESERVICING.COM Nov 27 2012 23:28:00      Sallie Mae PC Trust,    c/o Sallie Mae Inc.,
                220 Lasley Ave,   Wilkes-Barre, PA 18706-1496
 19037332     +E-mail/Text: BKRMailOps@weltman.com Nov 27 2012 23:54:51       Sterling Inc. dba Kay Jewelers,
                c/o Weltman, Weinberg & Reis, Co., LPA,    965 Keynote Circle,    Brooklyn Hts, OH 44131-1829
 18870251     +EDI: WFNNB.COM Nov 27 2012 23:28:00      Wfnnb/Vctria,    Po Box 182128,   Columbus, OH 43218-2128
                                                                                               TOTAL: 31

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 cr               CITIBANK, NA
 cr               Chrysler Financial Services Americas LLC
 cr               First Source Bank
 cr*             +East Bay Funding, LLC,    c/o Resurgent Capital Services,     PO Box 288,
                   GREENVILLE, SC 29602-0288
 cr*             +Fifth Third Bank,    P O Box 829009,    Dallas, TX 75382-9009
 19093969*       +ECMC,   P.O. Box 75906,    Saint Paul, MN 55175-0906
 18870237      ##+Chase Student Ln Servi,    Po Box 6004,    Ridgeland, MS 39158-6004
 18870239      ##+Citifinancial,    Po Box 499,   Hanover, MD 21076-0499
                                                                                                                     TOTALS: 3, * 3, ## 2

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

 Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
 While the notice was still deliverable, the notice recipient was advised to update its address with the court
 immediately.

 Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
 will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
 debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Nov 29, 2012                                       Signature:




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                              Form ID: 215BAPCP           Total Noticed: 50


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 27, 2012 at the address(es) listed below:
              Adrienne Marie Hines    on behalf of Debtor James Majewski lauriet@ckclawyers.com,
               adrienneh@ckclawyers.com
              Alison Anne Gill    on behalf of Creditor Fifth Third Bank alison.gill@ohiolaws.com,
               sara.weaver@ohiolaws.com
              Elizabeth Alphin     on behalf of Creditor Chrysler Financial Services Americas LLC
               loubknotices@mapother-atty.com
              Erin M. Laurito    on behalf of Creditor First Source Bank bk-notices@lauritolaw.com
              Hilary B Bonial    on behalf of Creditor Fifth Third Bank notice@bkcylaw.com
              John P. Gustafson    officeofstanding@att.net, jgustafson@ecf.epiqsystems.com
              Patti H. Bass    on behalf of Creditor HSBC Bank Nevada, N.A. ecf@bass-associates.com
              Stacey A O’Stafy    on behalf of Creditor CITIBANK, NA bankruptcy@mdk-llc.com,
               anhsmdk@earthlink.net;anhsmdk@zuckergoldberg.com
              Steven M. Dettelbach eswee06     on behalf of Creditor Department of Education
               Guillermo.Rojas@usdoj.gov,
               lorraine.riston@usdoj.gov;dixie.racklyeft@usdoj.gov;sarah.schutte@usdoj.gov
                                                                                             TOTAL: 9




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                                            Northern District Of Ohio
                                         United States Bankruptcy Court
                                         1716 Spielbusch Ave Room 411
                                               Toledo, OH 43604



In re:
   James R Majewski                                                               Case No.: 09−36626−maw
   Nichole R Majewski
   aka Nichole R Edwards−                                                         Chapter: 13
Address:
  1274 Delia Ave
  Akron, OH 44320

Last four digits of Social Security No.:
  xxx−xx−8016
  xxx−xx−6735




                                DISCHARGE OF DEBTOR AFTER COMPLETION
                                         OF CHAPTER 13 PLAN

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 1328(a) of title 11, United States Code, (the Bankruptcy Code).



Dated: November 27, 2012                                   /s/ Mary Ann Whipple
Form ohnb215BAPCP                                          United States Bankruptcy Judge




                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION




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                                EXPLANATION OF BANKRUPTCY DISCHARGE
                                        IN A CHAPTER 13 CASE


This court order grants a discharge to the person named as the debtor after the debtor has completed all payments
under the chapter 13 plan. It is not a dismissal of the case.

Collection of Discharged Debts Prohibited

The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. (In a case involving
community property:) There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case. A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.
However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against the
debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

The chapter 13 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but not
all, types of debts are discharged if the debt is provided for by the chapter 13 plan or is disallowed by the court
pursuant to section 502 of the Bankruptcy Code.
Debts that are Not Discharged
Some of the common types of debts which are not discharged in a chapter 13 bankruptcy case are:

a. Domestic support obligations;

b. Debts for most student loans;

c. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

d. Debts for personal injury or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft while
intoxicated;

e. Debts for restitution, or damages, awarded in a civil action against the debtor as a result of malicious or willful
injury by the debtor that caused personal injury to an individual or the death of an individual (in a case filed on or
after October 17, 2005);

f. Debts provided for under section 1322(b)(5) of the Bankruptcy Code and on which the last payment is due after the
date on which the final payment under the plan was due;

g. Debts for certain consumer purchases made after the bankruptcy case was filed if prior approval by the trustee of
the debtor's incurring the debt was practicable but was not obtained;

h. Debts for most taxes to the extent not paid in full under the plan (in a case filed on or after October 17, 2005); and

i. Some debts which were not properly listed by the debtor (in a case filed on or after October 17, 2005).

This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.




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